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                              IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF MARYLAND
Rodney Coster                                           *
      Plaintiff,
                                                        *
      v.                                                          Case No. 1:21-cv-00065
                                                        *
State of Maryland, et al.
      Defendant.                                        *

                                 MOTION FOR ADMISSION PRO HAC VICE

            I, Tristin Brown                       , am a member in good standing of the bar of this

Court. I am moving the admission of Jacqueline Kutnik-Bauder

to appear pro hac vice in this case as counsel for Rodney Coster                                                    .


            We certify that:

            1. The proposed admittee is not a member of the Maryland bar and does not maintain
               any law office in Maryland

            2. The proposed admittee is a member in good standing of the bars of the following
               State Courts and/or United States Courts:

                      State Court & Date of Admission           U.S. Court & Date of Admission
               Supreme Court of Missouri                    District Court for the Eastern District of Missouri

               (Oct 1997)                                   (February 2019)




            3. During the twelve months immediately preceding this motion, the proposed admittee
               has been admitted pro hac vice in this Court _______
                                                            0       time(s).

            4. The proposed admittee has never been disbarred, suspended, or denied admission to
               practice law in any jurisdiction. (NOTE: If the proposed admittee has been
               disbarred, suspended, or denied admission to practice law in any jurisdiction, then
               he/she must submit a statement fully explaining all relevant facts.)

            5. The proposed admittee is familiar with the Maryland Attorneys’ Rules of Professional
               Conduct, the Federal Rules of Civil Procedure, the Federal Rules of Evidence, the
               Federal Rules of Appellate Procedure, and the Local Rules of this Court, and
               understands he/she shall be subject to the disciplinary jurisdiction of this Court.

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            6. The proposed admittee understands admission pro hac vice is for this case only and
               does not constitute formal admission to the bar of this Court.
                                                                  n/a
            7. Either the undersigned movant or _________________________________________,
               is also a member of the bar of this Court in good standing, and will serve as co-
               counsel in these proceedings.

            8. The $100.00 fee for admission pro hac vice accompanies this motion.

    9. We hereby certify under penalties of perjury that the foregoing statements are true
       and correct.
 MOVANT                                         PROPOSED ADMITTEE
                                                                        /s/ Jacqueline Kutnik Bauder (signed by Tristin Brown
 /s/ Tristin Brown                                                      with the permission of Jacqueline Kutnik-Bauder)
Signature                                                               Signature
Tristin Brown 21321                                                     Jacqueline Kutnik-Bauder
Printed name and bar number                                             Printed name
Washington Lawyers Committee for Civil Rights and Urban Affairs         Washington Lawyers Committee for Civil Rights and Urban Affairs

Office name                                                             Office name

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